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  IT IS ORDERED as set forth below:



   Date: February 14, 2017                     _________________________________

                                                         Mary Grace Diehl
                                                   U.S. Bankruptcy Court Judge

  ______________________________________________________________
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